59 F.3d 167NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Edward B. LUNSFORD, Petitioner-Appellant,v.NORTH CAROLINA ATTORNEY GENERAL, Respondent-Appellee.
    No. 95-6231.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 18, 1995.Decided:  June 23, 1995.
    
      Edward B. Lunsford, Appellant Pro Se.  Richard Norwood League, Office of the Attorney General of North Carolina, Raleigh, NC, for Appellee.
      Before NIEMEYER and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the magistrate judge's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.*  We have reviewed the record and the magistrate judge's opinion, and find no reversible error.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the magistrate judge.  Lunsford v. North Carolina Attorney General, No. CA-94-215-1 (M.D.N.C. Jan. 13, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         The parties consented to disposition by a magistrate judge pursuant to 28 U.S.C. Sec. 636(c) (1988)
      
    
    